                                       United States Bankruptcy Court
                                      Western District of Washington
In re:                                                                                   Case No. 11-19109-TWD
Vasant Vinay Samudre                                                                     Chapter 7
Sarah Salcedo Samudre
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0981-2           User: admin                   Page 1 of 3                   Date Rcvd: Nov 02, 2011
                               Form ID: b18                  Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 04, 2011.
db/jdb        +Vasant Vinay Samudre,     Sarah Salcedo Samudre,     POB 7269,   Covington, WA 98042-0042
953375271      AArgon Collection Agency,     3025 W. Sahara Ave,     Las Vegas, NV 89102-6094
953375272     +AES/Bank of America,     POB 2461,   Harrisburg, PA 17105-2461
953375273     +AES/Nct,   POB 2461,     Harrisburg, PA 17105-2461
953375274     +AES/Pnc Bank,    POB 2461,    Harrisburg, PA 17105-2461
953375277     +Biomet,   100 Interpace Parkway,     Parsippany, NJ 07054-1149
953375279     +ChexSystems,    Attn: Consumer Relations,     7805 Hudson Rd,    Suite 100,    Woodbury, MN 55125-1703
953375281      Doug Salcedo,    15329 SE 234th St,     Kent, WA 98042
953375282     +Equifax Credit Information, IN,     POB 740241,    Atlanta, GA 30374-0241
953375283      Excel Imaging LLC,     POB 88976,   Milwaukee, WI 53288-0976
953375284     +Experian,    POB 2002,    Allen, TX 75013-2002
953375285      Harborview Medical Center,     PO Box C-9715,    Federal Way, WA 98063
953375287     +NCB Management Services,     PO Box 1099,    Langhorne, PA 19047-6099
953375288      NCO Financial Systems,     PO Box C-9715,    Federal Way, WA 98063
953375289     +Nelson, Watson & Associates LLC,     80 Merrimack St. Lower Level,     Haverhill, MA 01830-5202
953375291     +Progressive Financial Services, Inc,      POB 22083,    Tempe, AZ 85285-2083
953375293     +State Collection Service,     2509 South Stoughton Rd,     Madison, WI 53716-3314
953375294     +Summit Collection Services Inc,     POB 306,    Hohokus, NJ 07423-0306
953375295     +TransUnion Consumer Solutions,     POB 2000,    Chester, PA 19016-2000
953375299      US Department of Education,     Direct Loan Servicing Center,     PO Box 5609,
                Greenville, TX 75403-5609
953375300      UW Physicians,    PO Box 50095,    Seattle, WA 98145-5095
953375301      UWMC Dept of LabMed,     POB 9468,   Seattle, WA 98109-0468
953375298      University of Washington,     Laboratory Medicine,     PO Box 9468,   Seattle, WA 98109-0468
953375297      University of Washington,     Student Fiscal Services,     1400 NE Campus Parkway,
                Schmitz Hall Room 129 PO Box 355870,      Seattle, WA 98195-5870
953375296     +University of Washington,     POB 2901,    Winston Salem, NC 27102-2901

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg           EDI: WADEPREV.COM Nov 03 2011 02:18:00      State of Washington,    Department of Revenue,
               2101 4th Ave, Ste 1400,    Seattle, WA 98121-2300
953375275    +EDI: BANKAMER2.COM Nov 03 2011 02:18:00      Bank of America,    PO Box 17054,
               Wilmington, DE 19850-7054
953375278     EDI: CAPITALONE.COM Nov 03 2011 02:18:00      Capital One,    PO Box 30281,
               Salt Lake City, UT 84130-0281
953375280    +E-mail/Text: BK@COASTPROFESSIONAL.COM Nov 03 2011 02:34:52       Coast Professional Inc,
               PO Box 2876,   West Monroe, LA 71294-2876
953375286     EDI: IRS.COM Nov 03 2011 02:18:00      IRS Insolvency Unit,    POB 21126,   Philadelphia, PA 19114
953375290    +EDI: PNEN.COM Nov 03 2011 02:18:00      Penncro Associates, Inc,    95 James Way,    Suite 113,
               Southampton, PA 18966-3847
953375292     EDI: SALMAESERVICING.COM Nov 03 2011 02:18:00      Sallie Mae,    PO Box 9500,
               Wilkes Barre, PA 18773-9500
953375302    +EDI: WFNNB.COM Nov 03 2011 02:18:00      Victoria’s Secret,    POB 182789,
               Columbus, OH 43218-2789
953375304    +EDI: WFNNB.COM Nov 03 2011 02:18:00      WFNNB/EXPRESS STRUCT,    PO Box 330064,
               Denver, CO 80233-8064
953375303    +EDI: WFNNB.COM Nov 03 2011 02:18:00      Wfnnb/Crate & Barrel,    POB 182789,
               Columbus, OH 43218-2789
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
953375276*     +Bank of America,   POB 17054,   Wilmington, DE 19850-7054
                                                                                                TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.




         Case 11-19109-TWD           Doc 12     Filed 11/04/11      Ent. 11/04/11 21:34:57       Pg. 1 of 5
 District/off: 0981-2                  User: admin                        Page 2 of 3                          Date Rcvd: Nov 02, 2011
                                       Form ID: b18                       Total Noticed: 35


               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Nov 04, 2011                                       Signature:




            Case 11-19109-TWD                Doc 12        Filed 11/04/11          Ent. 11/04/11 21:34:57             Pg. 2 of 5
District/off: 0981-2         User: admin                 Page 3 of 3                   Date Rcvd: Nov 02, 2011
                             Form ID: b18                Total Noticed: 35


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 2, 2011 at the address(es) listed below:
              Masafumi Iwama    on behalf of Debtor Vasant Samudre matt@iwamalaw.com,
               matt.iwamalaw@gmail.com;beth@iwamalaw.com
              Michael B McCarty   michael@mccartytrustee.com, WA03@ecfcbis.com,
               mbm@trustesolutions.com;krystina@mccartytrustee.com
              United States Trustee   USTPRegion18.SE.ECF@usdoj.gov
                                                                                            TOTAL: 3




         Case 11-19109-TWD         Doc 12     Filed 11/04/11    Ent. 11/04/11 21:34:57      Pg. 3 of 5
B18 (Official Form 18) (12/07)

                                  United States Bankruptcy Court
                                         Western District of Washington
                                          700 Stewart St, Room 6301
                                              Seattle, WA 98101
                                              Case No. 11−19109−TWD
                                                     Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Vasant Vinay Samudre                                      Sarah Salcedo Samudre
   POB 7269                                                  aka Sarah Elizabeth Salcedo
   Covington, WA 98042                                       POB 7269
                                                             Covington, WA 98042
Social Security/Individual Taxpayer ID No.:
   xxx−xx−1617                                              xxx−xx−0248
Employer Tax ID/Other nos.:



                                         DISCHARGE OF DEBTOR




The Debtor(s) filed a Chapter 7 case on July 29, 2011. It appearing that the Debtor is entitled to a discharge,

IT IS ORDERED:

The Debtor is granted a discharge under 11 U.S.C. § 727.



                                                            BY THE COURT

Dated: November 2, 2011                                     Timothy W Dore
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




      Case 11-19109-TWD             Doc 12      Filed 11/04/11        Ent. 11/04/11 21:34:57          Pg. 4 of 5
B18 (Official Form 18) (12/07)


                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




      Case 11-19109-TWD              Doc 12       Filed 11/04/11        Ent. 11/04/11 21:34:57          Pg. 5 of 5
